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1    KEVIN V. RYAN (CSBN 118321)
     United States Attorney
2
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3    Chief, Criminal Division
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     Assistant United States Attorney
5
        450 Golden Gate Avenue, Box 36055
6       San Francisco, California 94102
        Telephone: (415) 436-6778
7       Facsimile: (415) 436-7234
8    Attorneys for Plaintiff
9
                                UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                   SAN FRANCISCO DIVISION
12
13   UNITED STATES OF AMERICA,         )              CR 05-00284 SI
                                       )
14                Plaintiff,           )
                                       )
15    v.                               )
                                       )                ORDER EXCLUDING TIME
16                                     )                UNDER THE SPEEDY TRIAL ACT
                                       )
17   AKRAM SABAR CHAUDHRY,             )
        aka Akram Sabar, and           )
18   MOHAMMAD ADIL,                    )
        aka Adil Mohammad,             )
19                                     )
                                       )
20                       Defendants.   )
     ________________________________ _)
21
               The United States of America, by and through its attorneys, Kevin V. Ryan,
22
     United States Attorney for the Northern District of California, by J. Douglas Wilson,
23
     Assistant United States Attorney, and defendants Akram Sabar Chaudhry and Mohammad
24
     Adil, by and through their attorneys, stipulated in open court, and the Court agrees that
25
     the time period between June 24, 2005, and July 15, 2005, shall be excluded from the
26
     calculation of time in which the trial of the captioned matter must commence pursuant to
27
28

     ORDER EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
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1    the Speedy Trial Act. This period of time is excluded pursuant to 18 U.S.C. §
2    3161(h)(8)(B)(iv) in order for the parties to prepare effectively for trial in light of
3    discovery and for continuity of counsel. The parties agree and the Court finds that the
4    ends of justice served by the exclusion of this time outweigh the best interest of the public
5    and the defendants in a speedy trial, all pursuant to 18 U.S.C. § 3161(h)(8)(A).
6
7    DATED: June 28, 2005                        Respectfully submitted,
8                                                KEVIN V. RYAN
                                                 United States Attorney
9
10
                                                                          /S/
11                                               J. DOUGLAS WILSON
                                                 Assistant United States Attorney
12
                                                                ISTRIC
                                                           TES D      TC
13   SO ORDERED.                                          A
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                                                 SUSAN ILLSTON
                                                        Judge Susan I                    FO
                                                 DISTRICT JUDGE
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                                                 UNITED STATES DISTRICT COURT
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     ORDER EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
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1                                       CERTIFICATE OF SERVICE
2       The undersigned hereby certifies that she is an employee of the Office of the United States
3    Attorney for the Northern District of California and is a person of such age and discretion to be
4    competent to serve papers. The undersigned further certifies that she caused a copy of:
5        ORDER EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
6    to be served this date on the party(ies) in this action,
7                    Via Hand Delivery
                     Josh Cohen
8                    Assistant Federal Public Defender
                     450 Golden Gate Avenue, 19th Floor
9                    San Francisco, CA 94102
10                   Via U.S. Mail and Fax
11                   David L. Anderson
                     Pillsbury Winthrop
12                   50 Fremont Street
                     San Francisco, CA 94105
13                   Fax: 415-983-1200
14      I declare under penalty of perjury under the laws of the State of California that the
15   foregoing is true and correct.
16   Dated: June 27, 2005
                                                                               /S/
17                                                   Ponly J. Tu
                                                     Legal Assistant (Immigration)
18                                                   United States Attorney’s Office
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     ORDER EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
